 Case: 1:20-cr-00812 Document #: 371 Filed: 06/26/24 Page 1 of 1 PageID #:9119

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:20−cr−00812
                                                           Honorable Manish S. Shah
Michael McClain, et al.
                                          Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, June 26, 2024:


       MINUTE entry before the Honorable Manish S. Shah: A status hearing is set for
7/9/24 at 10:15 a.m. in Courtroom 1919. Defendants' appearances are waived for the
hearing. Notices mailed. (psm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
